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           6     Attorneys for Creditor
                 loanDepot.com,LLC d/b/a imortgage, its successors and assigns
           7
                                         UNITED STATES BANKRUPTCY COURT
           8
                                     EASTERN DISTRICT OF CALIFORNIA – FRESNO
           9
                 In re:                                      )       Case No.: 18-13847
                                                             )
          10
                 RANDY ADAMS,                                )
                                                             )       Chapter 13
          11
                                    Debtor.                  )
                                                             )       OBJECTION TO CONFIRMATION OF
          12
                                                             )       DEBTOR’S PLAN
                                                             )
          13
                                                             )       341(a) Hearing
                                                             )       DATE: 12/11/18
          14
                                                             )       TIME: 11:30AM
                                                             )       PLACE: 510 19th Street
          15
                                                             )       Bakersfield, CA 93301
                                                             )
          16
                                                             )
                                                             )       Property: 10904 Unser Court, Bakersfield, CA
          17
                                                             )       93306
                                                             )
          18
                                                             )
                                                             )
          19
                                                             )
                                                             )
          20
                                                             )
                                                             )       The Honorable Rene Lastreto II
          21

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           1     TO THE HONORABLE JUDGE RENE LASTRETO II, UNITED STATES BANKRUPTCY

           2     JUDGE, THE DEBTOR, HIS ATTORNEY OF RECORD AND THE CHAPTER 13 TRUSTEE,

           3     MICHAEL H. MEYER:

           4     loanDepot.com,LLC d/b/a imortgage, (“Creditor”), a secured creditor of the above-named

           5     Debtor hereby objects to the confirmation of Debtor’s Chapter 13 Plan (the “Plan”) on the

           6     grounds that the Plan does not comply with the provisions of Chapter 13 of Title 11, United

           7     States Code, and with other applicable provisions of said Title 11.

           8             This objecting Creditor holds a deed of trust on the Debtor’s real property commonly

           9     described as 10904 Unser Court, Bakersfield, CA 93306 (the “Property”), which is Debtor’s

          10     principal residence. Creditor is entitled to receive payments pursuant to a Promissory Note

          11     which is secured by a Deed of Trust on the subject property commonly known as 10904 Unser

          12     Court, Bakersfield, CA 93306. As of the Petition Date, the approximate amount in default was

          13     $22,793.54 as will be described in the forthcoming Proof of Claim to be filed by Creditor;

          14     Creditor files this Objection to protect its interests.

          15                                                             I

          16                                                   ARGUMENT

          17         Application of the provisions of 11 United States Code Section 1325 determines when a Plan

          18     shall be confirmed by the Court. Based on the foregoing, as more fully detailed below, the Plan

          19     cannot be confirmed as proposed because the Plan does not comply with the provisions of

          20     Chapter 13 of the United States Bankruptcy Code.

          21         A. IMPERMISSIBLY MODIFIES CREDITOR’S RIGHTS
                     11 U.S.C. §1322(b)(2)
          22
                         Under 11 U.S.C. §1322(b)(2), a Plan that modifies the rights of a creditor whose claim is
          23
                 secured only by a security interest in real property that is debtor’s principal residence is
          24


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           1     impermissible. The plan lists $16,058.00 in arrears when the actual arrears are $22,793.54. That

           2     reduction in arrears is an impermissible modification. The proposed Plan also does not set forth a

           3     reasonable schedule and time period for the payment of the arrearages owed to Secured Creditor

           4     because Secured Creditor is not included in the Plan. To cure the pre-petition arrearages of

           5     $22,793.54 over a 60 month Plan, Secured Creditor must receive a minimum payment of

           6     $379.89 per month from the Debtor through the Plan. Therefore, the Plan is not feasible.

           7        B. DOES NOT MEET FULL VALUE REQUIREMENT
                       11 U.S.C. §1325(a)(5)(B)(ii)
           8
                        The Debtors’ Plan does not provide for cure of the pre-petition arrears owed to
           9
                 Creditor. The pre-petition arrears owed to Creditor are no less than approximately $22,793.54.
          10
                 Debtors’ Plan provides for $16,058.00 in arrears payments to Creditor. Accordingly, Debtor
          11
                 will be required to amend his Plan to fully provide for the pre-petition arrears owed to Creditor.
          12
                 Since Debtors’ Plan does not provide for cure of the default of the pre-petition arrears owed to
          13
                 Creditor, the Plan does not meet the full value requirement and fails to satisfy 11 U.S.C.
          14
                 §1325(a)(5)(B)(ii).
          15
                    WHEREFORE, Creditor objects to confirmation of the Plan and requests as follows:
          16
                           a.   The confirmation of the Proposed Chapter 13 Plan be denied; or, in the
          17
                        alternative;
          18
                           b.   Debtor’s plan be amended to reflect the arrears amount listed in Secured
          19
                                Creditor’s filed proof of claim;
          20
                           c.   For attorneys’ fees and costs herein, and
          21
                           d.   For such other relief as this Court deems proper.
          22

          23     DATED: November 20, 2018                      THE LAW OFFICES OF MICHELLE GHIDOTTI

          24


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           1
                        By: /s/ Kristin Zilberstein Esq._______
           2            Kristin Zilberstein, Esq.
                        loanDepot.com,LLC d/b/a imortgage
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                 Adam Thursby, Esq. (SBN: 318465)
          2      Jennifer Bergh, Esq. (SBN: 305219)
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                 Attorneys for Creditor
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          9
         10
                                           UNITED STATES BANKRUPTCY COURT
         11
                                 EASTERN DISTRICT OF CALIFORNIA– FRESNO DIVISION
         12
         13
                 In Re:                                               )   CASE NO.: 18-13847
         14                                                           )
                 Randy Adams,                                         )   CHAPTER 13
         15                                                           )
                          Debtors.                                    )   CERTIFICATE OF SERVICE
         16
                                                                      )
         17                                                           )
                                                                      )
         18                                                           )
         19                                                           )
                                                                      )
         20                                                           )
                                                                      )
         21
         22
                                                  CERTIFICATE OF SERVICE
         23
         24               I am employed in the County of Orange, State of California. I am over the age of
         25      eighteen and not a party to the within action. My business address is: 1920 Old Tustin
         26
                 Avenue, Santa Ana, CA 92705.
         27
                          I am readily familiar with the business’s practice for collection and processing of
         28
                 correspondence for mailing with the United States Postal Service; such correspondence would


                                                                  1
                                                   CERTIFICATE OF SERVICE
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          1      be deposited with the United States Postal Service the same day of deposit in the ordinary
          2      course of business.
          3
                 On November 20, 2018 I served the following documents described as:
          4
                                OBJECTION TO CONFIRMATION OF DEBTORS PLAN
          5
          6      on the interested parties in this action by placing a true and correct copy thereof in a sealed

          7      envelope addressed as follows:
          8
                 (Via United States Mail)
          9      Debtor                                              Trustee
                 RANDY ADAMS                                         Michael H. Meyer
         10      10904 UNSER CT                                      PO Box 28950
         11      Bakersfield, CA 93306                               Fresno, CA 93729-8950

         12      Debtor’s Counsel                                    U.S. Trustee
                 Robert S. Williams                                  Office of the U.S. Trustee
         13      2441 G St., Ste. A                                  United States Courthouse
         14      Bakersfield, CA 93301                               2500 Tulare Street, Room 1401
                                                                     Fresno, CA 93721
         15
                 _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
         16
                 the United States Postal Service by placing them for collection and mailing on that date
         17      following ordinary business practices.

         18      ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
         19      Eastern District of California

         20      __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
                 America that the foregoing is true and correct.
         21
         22              Executed on November 20, 2018 at Santa Ana, California

         23      /s / Krystle Miller
                 Krystle Miller
         24
         25
         26
         27
         28




                                                                 2
                                                  CERTIFICATE OF SERVICE
